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UNITED STATES DISTRICT COURT
_ MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : NO. 3:23-CR- [47

ve : (Judge Mannion)
DARYLRINKER, | : (Biled Under Seal)
Defendant. :
ORDER

IT IS ORDERED that the Clerk of Court provide the United States
Attorney's Office with two (2) certified ‘copies of the accompanying
documents and thereafter keep these documents from public view until the
Clerk has made appropriate docket entries.

IT IS FURTHER ORDERED that these documents only be opened by
appropriate Court personnel of the Middle District of Pennsylvania in due
course of performing the business of the Clerk’s Office, after which the Clerk
is ordered to seal this Order and all accompanying documents until

[X] Notified in writing by the United States Attorney’s '
Office that there is no longer any reason- for the
documents to. remain sealed; or

[] Further Order of the Court.

DATE: _Z/f 2023 she CQ arr

oe E. MANNION
U.S. DISTRICT COURT JUDGE

